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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



    Nos. 23-1664, 23-1665, 23-1666, 23-1667, 23-1668, 23-1669, 23-1670, 23-1671,
          23-1672, 23-1673, 23-1674, 23-1675, 23-1676, 23-1677, & 23-1678



                 In re: Boy Scouts of America and Delaware BSA LLC
                              (D.Del. No. 1:22-cv-01237)



                                         ORDER



       At the direction of the Court, the temporary stay issued in the appeals at Nos. 23-
1664, 23-1666, and 23-1668 also applies to the appeals at Nos. 23-1665, 23-1667, 23-
1669, 23-1670, 23-1671, 23-1672, 23-1673, 23-1674, 23-1675, 23-1676, 23-1677, and
23-1678. This order does not constitute a ruling on the merits of the parties’ stay motions
nor a need for more than a temporary stay.



For the Court,

s/ Patricia S. Dodszuweit
Clerk


Dated: April 12, 2023
Sb/cc: All Counsel of Record
